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          16                                  UNITED STATES DISTRICT COURT

          17                               NORTHERN DISTRICT OF CALIFORNIA

          18                                       SAN FRANCISCO DIVISION

          19     SC INNOVATIONS, INC.,                          CASE NO. 3:18-cv-07440-JCS
          20                         Plaintiff,                 DEFENDANTS’ MOTION TO DISQUALIFY
                                                                QUINN EMANUEL URQUHART &
          21           v.                                       SULLIVAN LLP
          22     UBER TECHNOLOGIES, INC., RASIER,               Hearing Date: April 26, 2019
                 LLC, RASIER-CA LLC, RASIER-PA, LLC,            Time:         9:30 a.m.
          23     RASIER-DC, LLC, RASIER-NY, LLC, AND            Location:     Courtroom G, 450 Golden Gate
                 UBER USA, LLC,                                               Avenue, San Francisco, CA
          24
                                     Defendants.
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            1                                   NOTICE OF MOTION AND MOTION
            2    TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
            3           PLEASE TAKE NOTICE that on April 26, 2019, at 9:30 a.m., or as soon thereafter as may be
            4    heard before the Honorable Joseph C. Spero, in Courtroom G of the United States District Court for
            5    the Northern District of California, located at 450 Golden Gate Avenue, San Francisco, CA 94102,
            6    defendants Uber Technologies, Inc.; Rasier, LLC; Rasier-CA, LLC; Rasier-PA, LLC; Rasier-DC,
            7    LLC; Rasier-NY, LLC; and Uber-USA, LLC (collectively, “Uber”), will and hereby do move this
            8    Court for an order disqualifying Quinn Emanuel Urquhart & Sullivan, LLP (“Quinn Emanuel”), from
            9    representing plaintiff SC Innovations, Inc. (“SCI”), in this action.
          10            Uber respectfully requests that the Court disqualify Quinn Emanuel from representing SCI in
          11     this action because Quinn Emanuel has previously represented Uber on cases and counseled Uber on
          12     matters substantially related to the facts and law at issue in this action and is therefore presumptively
          13     conflicted. Furthermore, in the process of its representation and counseling, Quinn Emanuel has
          14     received access to significant amounts of confidential information directly material to this matter,
          15     thus requiring it to be barred from representing a client adverse to Uber on a related matter. Uber’s
          16     motion is based on this Notice of Motion and Motion, the following Memorandum of Points and
          17     Authorities, all concurrently filed declarations and exhibits, argument of counsel, and all pleadings
          18     and papers on file in this action.
          19                                           ISSUE TO BE DECIDED
          20            Whether Uber’s longtime counsel, Quinn Emanuel, is presumptively disqualified from
          21     representing SCI in this unfair competition action in light of its previous defense of Uber in 16
          22     substantially related actions and counseling on substantially related matters, which also allowed it to
          23     access confidential information material to this action.
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            1                          MEMORANDUM OF POINTS AND AUTHORITIES
            2                                              INTRODUCTION
            3           For nearly four years, from 2012 to 2016, Quinn Emanuel Urquhart & Sullivan, LLP (“Quinn
            4    Emanuel”) represented Uber Technologies, Inc., and its affiliates (collectively, “Uber”), serving as its
            5    trusted outside counsel and defending it in at least 20 cases. Sixteen of those cases were brought by
            6    plaintiffs who alleged that Uber engaged in various means of unfair competition. Here, Quinn
            7    Emanuel represents SC Innovations, Inc. (“SCI”), the purported assignee of certain litigation rights of
            8    Sidecar Technologies, Inc. (“Sidecar”), a defunct Uber competitor who also alleges that Uber unfairly
            9    competed against it. SCI claims that Uber stifled competition by pricing at predatory levels and
          10     “intentionally interfer[ing] with the performance and quality of competing ride-hailing apps.” SCI
          11     Compl. ¶ 9, ECF No. 1.
          12            But these are precisely the same types of claims against which Quinn Emanuel had previously
          13     defended Uber. See, e.g., Compl., Yellow Cab Co. v. Uber Techs., Inc., No. 1:12-CV-07967 (D. Md.
          14     Aug. 28, 2014), ECF No. 2 (“Yellow Cab Compl.”) (alleging that Uber engaged in predatory pricing,
          15     monopolization, attempted monopolization, and tortious interference). Now, three years after
          16     Sidecar’s dissolution, Quinn Emanuel represents SCI in seeking compensation for the purported
          17     “damages caused by Uber,” its former client, and in “bring[ing] an end to Uber’s anticompetitive
          18     practices.” SCI Compl. ¶ 1. Because Quinn Emanuel represented Uber in substantially related
          19     matters, its “access to confidential information [about Uber] . . . is presumed,” and disqualification of
          20     Quinn Emanuel “is mandatory” under California law. Flatt v. Superior Court, 9 Cal. 4th 275, 283
          21     (1994). But Uber does not need to resort to a presumption. There is no serious question that Quinn
          22     Emanuel was actually privy to mountains of confidential material, including sensitive information
          23     related to Uber’s entry into new markets, competitive tactics, business strategy, pricing, and litigation
          24     strategies—information directly relevant to this lawsuit.
          25            Uber asked its former longtime outside counsel to withdraw from this conflicted
          26     representation, but Quinn Emanuel refused. Uber therefore has no choice but to move to disqualify
          27     Quinn Emanuel because, during the very same timeframe that Uber and its “senior executives and
          28     officers” allegedly “directed a series of anticompetitive tactics that were specifically designed to

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            1    thwart true competition,” SCI Compl. ¶ 83, Quinn Emanuel served as one of Uber’s closest legal
            2    advisors, counseling the company and its senior executives on the very same conduct that it now
            3    asserts is illegal on behalf of a client adverse to Uber.
            4           More specifically, Uber relied heavily on Quinn Emanuel to navigate a thicket of unfair
            5    competition and antitrust issues that cropped up in the midst of a period of tremendous growth and
            6    business transformation for the nascent company. As Uber confronted legal challenges resulting
            7    from its rapid expansion, and sought a partner to help construct its nationwide litigation and
            8    regulatory strategy on competition matters, it repeatedly turned to Quinn Emanuel for real-time
            9    advice, including on the conduct that is at the heart of SCI’s claims. Although Quinn Emanuel’s
          10     founder and managing partner, John Quinn, got it right when he said that “Uber would rather
          11     compete for business on the streets . . . than in the courtroom,”1 as noted above, Quinn Emanuel’s
          12     attorneys went on to defend Uber in at least 16 lawsuits filed in federal and state courts throughout
          13     the country that involved allegations of unfair competition and antitrust violations akin to the ones in
          14     SCI’s Complaint.2
          15            Quinn Emanuel’s representation of SCI offends the two ethical duties owed by counsel in any
          16     attorney-client relationship: the duty of confidentiality and the duty of “undivided loyalty.” People
          17     ex rel. Dep’t of Corps. v. SpeeDee Oil Change Sys., Inc., 20 Cal. 4th 1135, 1146 (1999). The
          18     “scrupulous administration of justice and the integrity of the bar” cannot tolerate Quinn Emanuel’s
          19     conduct. Id. at 1145. California’s ethical rules—which apply to attorneys practicing before this
          20     Court—compel Quinn Emanuel’s disqualification.
          21

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          25         Cyrus Farivar, Lyft, SideCar, and Uber all slapped with $20K fines from CA regulator, ARS
                     TECHNICA, Nov. 14, 2012, available at https://arstechnica.com/tech-policy/2012/11/lyft-sidecar-
          26         and-uber-all-slapped-with-20k-fines-from-ca-regulator/.
                 2
          27         Quinn Emanuel also represented Uber as counsel of record in other cases that did not involve
                     unfair competition claims. Decl. of Jason B. Allen in Supp. of Defs.’ Mot. to Disqualify (“Allen
          28         Decl.”) ¶ 10.

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            1                                        FACTUAL BACKGROUND3
            2    I.      Quinn Emanuel Becomes One of Uber’s Most Trusted Law Firms.
            3            Uber was introduced to Quinn Emanuel in October 2012. Shortly thereafter, Uber retained

            4    Quinn Emanuel to defend the company in one of its first lawsuits, Yellow Group LLC v. Uber

            5    Technologies, Inc., No. 1:12-cv-07967, filed in the United States District Court for the Northern

            6    District of Illinois. Decl. of Salle Yoo in Supp. of Defs.’s Mot. to Disqualify (“Yoo Decl.”) ¶ 5. The

            7    plaintiffs alleged that Uber engaged in unfair competition by failing to comply with certain

            8    regulations governing taxis and other for-hire vehicle transportation services. A series of similar

            9    cases filed by other taxicab operators around the country followed and Quinn Emanuel was retained

          10     to handle virtually all of them—experience it later touted when attempting to secure additional work

          11     from Uber. Decl. of Jennifer Ghaussy in Supp. of Defs.’ Mot. to Disqualify (“Ghaussy Decl.”) ¶¶ 6,

          12     20 & Ex. A; Decl. of Jason B. Allen in Supp. of Defs.’ Mot. to Disqualify (“Allen Decl.”) ¶ 6.

          13             When the Yellow Group lawsuit was filed, Uber had only one in-house attorney, its former

          14     General Counsel, Salle Yoo. Yoo Decl. ¶ 6. Ms. Yoo believed that Uber would be best served by

          15     having a single law firm act as Uber’s adviser in crafting a consistent national strategy to respond to

          16     this wave of unfair competition lawsuits and providing advice on issues that might implicate antitrust

          17     and unfair competition laws. Id. Quinn Emanuel was selected for that assignment. Id.; Allen Decl.

          18     ¶ 6; Ghaussy Decl. ¶ 6. Quinn Emanuel understood its role; described itself as Uber’s partner; prided

          19     itself on attaining deep knowledge of Uber’s business model, personnel, and operations; and, as

          20     envisioned, went on to advise Uber on competition issues and to defend Uber in at least 16 lawsuits

          21     alleging violations of unfair competition laws. Id.

          22             Apart from its work on competition-related matters, Quinn Emanuel counseled Uber on an

          23     array of other legal issues, further demonstrating the close relationship between the firm and its

          24
                 3
                      By filing this motion and its supporting papers, and discussing the matters herein, Uber does not
          25          waive any applicable attorney-client privilege, work-product protection, or any other applicable
                      privilege or protection. See generally Rosenfeld Constr. Co. v. Superior Court, 235 Cal. App. 3d
          26          566, 573–74 (Ct. App. 1991) (“[T]o require a client to show the nature of the confidential
                      information ‘would tear aside the protective cloak drawn about the lawyer-client relationship.
          27          For the Court to probe further and sift the confidences in fact revealed would require the
                      disclosure of the very matters intended to be protected . . . .’”); H.F. Ahmanson & Co. v. Salomon
          28          Bros., Inc., 229 Cal. App. 3d 1445, 1453 (Ct. App. 1991) (noting that it would be “ironic” if client
                      confidences had to be disclosed to disqualify counsel).
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            1    client. For example, Quinn Emanuel served as counsel of record for Uber in other types of matters as
            2    varied as patent and personal injury litigation. Allen Decl. ¶ 10. Quinn Emanuel’s work for Uber
            3    was so extensive that it encompassed advising the fledgling company as it established internal
            4    policies and protocols. For example, Quinn Emanuel counseled Uber on its internal document
            5    retention policies and helped shape its preservation requirements. Ghaussy Decl. ¶ 25. Remarkably,
            6    Quinn Emanuel’s attorneys even handled a matter that involved evaluating a letter from Sunil Paul,4 a
            7    founder of SCI’s assignor and Uber’s former competitor, Sidecar, regarding a patent he claimed to
            8    hold. Id. ¶ 22. SCI’s Complaint does not reveal whether SCI is a successor in interest to Sidecar’s
            9    intellectual property, but the Complaint certainly hints at a possible theory of infringement by Uber.5
          10     See Compl. ¶¶ 44–45 (“Sidecar [] was the first Ride-Hailing App to provide several key
          11     features . . . . Uber and Lyft have since copied these features and implemented them in their own
          12     Ride-Hailing Apps, where they have become popular product features.”).
          13     II.      Quinn Emanuel Defends Uber in Substantially Related Litigation Matters Between 2012
                          and 2016.
          14

          15              Quinn Emanuel quickly cemented its relationship with Uber and defended the company in a

          16     string of lawsuits that are substantially related to SCI’s Complaint. The recurring claim in these

          17     many actions was—as here—that Uber’s allegedly unfair business conduct and rapid expansion

          18     caused injury to competing service providers. An overview of some of the most relevant matters

          19     illustrates the substantial relationship between Quinn Emanuel’s successive representation of Uber

          20     and SCI.6

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                 4
          22           Mr. Paul appears to retain an interest in SCI. See Certif. of Interested Entities by SC Innovations,
                       Inc., SCI ECF No. 3.
          23
                 5
                       To the extent that any amended complaint by SCI asserts any intellectual-property claims, this
          24           prior representation would provide independent support for disqualifying Quinn Emanuel.
                 6
          25           This is not an exhaustive collection, by any means. Other unfair competition matters handled by
                       Quinn Emanuel raised legal and factual questions that are substantially related to those in SCI’s
          26           Complaint. See, e.g., Decl. of Kevin Yeh in Supp. of Defs.’ Mot. to Disqualify Ex. A, Mem. in
                       Supp. of Appl. for TRO and Prelim. Inj. Against Defs. 8, Albuquerque Cab Co. v. Uber Techs.,
          27           Inc., No. D-202-CV-201405912 (N.M. 2d. Jud. Dist. Ct. Sept. 16, 2014) (alleging violations of
                       New Mexico Unfair Practices Act because Uber is “essentially offering free rides” and “[b]ecause
          28           of this unfair competition, Plaintiffs have suffered noticeable losses” as “Uber continue[s] to

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            1           In Yellow Cab Co. v. Uber Technologies, Inc., filed in 2014 in Maryland state court and
            2    removed to the United States District Court for the District of Maryland, the plaintiffs—a group of
            3    Maryland cab companies, associations, and drivers—sued Uber based on factual allegations and legal
            4    theories nearly identical to SCI’s. Like Quinn Emanuel’s new client, SCI, the Yellow Cab plaintiffs
            5    attacked UberX pricing as predatorily low.7 Compare Yellow Cab Compl. ¶ 110 (“through its uberX
            6    service, Uber forces its Providers and Drivers to charge mandatory, uniform prices so far below the
            7    market rate as to constitute illegal predatory pricing with which Plaintiffs and the Association
            8    Members are unable to compete”), with SCI Compl. ¶ 6 (“One of the anticompetitive practices that
            9    Uber employed was predatory pricing”). Both Yellow Cab and SCI allege that Uber engaged in
          10     tortious conduct that interfered with plaintiffs’ relationships with riders and drivers. Compare Yellow
          11     Cab Compl. ¶¶ 2, 6 (alleging “tortious interference with Plaintiffs’ business relationships with its
          12     customers and contract drivers” and that Uber “improperly and unlawfully induc[es] drivers to
          13     contract with Uber”), with SCI Compl. ¶ 9 (alleging that Uber “intentionally interfered with the
          14     performance and quality of competing ride-hailing apps” and used “fraudulently requested trips as an
          15     opportunity to convince drivers to work exclusively with Uber instead of its competitors”). And both
          16     cases allege that Uber had a specific plan to monopolize the relevant market and destroy competition.
          17     Compare Yellow Cab Compl. ¶ 4 (alleging “well-planned efforts to monopolize th[e] industry and
          18     destroy competition”), with SCI Compl. ¶¶ 7–9 (alleging that “Uber’s most senior officers and
          19
                     squeeze them out of the market”); Am. Compl., Ehret v. Uber Techs., Inc., No. 14-CV-00113-
          20         EMC (N.D. Cal. Apr. 28, 2014), ECF No. 40 (bringing Unfair Competition Law claim regarding
                     aspects of Uber’s pricing nationwide, including geographies alleged in SCI’s Complaint); Yeh
          21         Decl. Ex. B, Compl. ¶¶ 33, 55, 83 Ezeokoli v. Uber Techs., Inc., No. RG14747166, (Cal. Super.
                     Ct., Alameda Cnty., Nov. 5, 2014) (alleging that Uber “owns no cars, no permits, no radio
          22         associations, and employs no drivers”; engages in tortious interference; and “‘partners’ with
                     taxicab drivers who make an illegal side deal with [Uber] to deliver customers”); Second Am.
          23         Compl. ¶¶ 1–3, 44, 55, Goncharov v. Uber Techs., Inc., No. CGC-12-526017 (Cal. Super. Ct.,
                     S.F. Cnty., Jan. 7, 2016) (alleging unlawful competition and interference with taxi drivers’
          24         business, and that Uber is a transportation company subject to California Public Utilities
                     Commission’s jurisdiction); First Am. Compl. ¶¶ 5, 25, Yellow Grp. LLC v. Uber Techs., Inc.,
          25         No. 12 C 7967 (N.D. Ill. Dec. 20, 2012), ECF No. 17 (alleging that Uber is “circumventing
                     legally established rates and pricing models” and “tortiously interferes with the contractual
          26         relationship between Plaintiffs and the drivers” in Chicago).
                 7
          27         A case brought by taxi drivers in Atlanta (and defended by Quinn Emanuel) similarly alleged that
                     Uber unfairly “offer[s] and collect[s] lower fares.” Second Am. Compl. ¶ 53, McCandliss v.
          28         Uber Techs., Inc., 1:14-03275-WSD (N.D. Ga. June 15, 2015), ECF No. 53.

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            1    executives specifically planned for this subsidized pricing strategy to foreclose competition” and
            2    “[t]o obtain and protect its monopoly”).
            3           Similarly, in Boston Cab Dispatch, Inc. v. Uber Technologies, Inc., filed in the United States
            4    District Court for the District of Massachusetts, the fundamental claim was that Uber engaged in
            5    unfair practices to avoid competition on the merits.8 Compl., Boston Cab Dispatch, Inc. v. Uber
            6    Techs., Inc., No. 1:13-cv-10769-NMG (D. Mass. Apr. 3, 2013), ECF No. 1-1 (“Boston Cab
            7    Compl.”). During this multi-year representation, Quinn Emanuel was undeniably exposed to
            8    confidential information by engaging in extensive discovery, which gave Quinn Emanuel access to
            9    facts relevant to the SCI Complaint’s allegations of predatory pricing by Uber in Boston—one of the
          10     geographic markets identified in SCI’s Complaint—and elsewhere. For example, the plaintiffs in
          11     Boston Cab served, and received responses from Uber to, scores of discovery requests—over
          12     objections lodged by Quinn Emanuel—related to Uber’s “pricing strategy” and, more broadly, past
          13     and future changes in pricing models for Uber services and Uber’s overall operations. Ghaussy Decl.
          14     ¶¶ 16–17.
          15            Quinn Emanuel’s representation of Uber in Greater Houston Transportation Co. v. Uber
          16     Technologies, Inc.—an unfair competition case that Quinn Emanuel helped settle on the eve of trial
          17     in February 2016—also shares common ground with SCI’s lawsuit. As in this case, the plaintiffs
          18     took the position that they would have been more successful but for Uber’s allegedly illegal conduct.
          19     See Compl. and Appl. for TRO, Greater Houston Transp. Co. v. Uber Techs., Inc., No. 4:14-cv-
          20     00941 (S.D. Tex. Apr. 8, 2014), ECF No. 1. For instance, the plaintiffs’ expert submitted a
          21     declaration challenging Uber’s pricing practices for allegedly falling below a profitable level.
          22     Ghaussy Decl. ¶ 14. Uber’s expert, under Quinn Emanuel’s direction, opined that the plaintiffs’
          23     decline might be more directly attributable to “unrelated marketplace events and conditions,”
          24     including the “lawful actions of the Defendants,” “changes in economic climate,” “competition from
          25     Lyft, competition from other taxi companies, or a decline in the demand for [plaintiff’s] services for
          26
          27     8
                     Both cases also allege that Uber interfered with the plaintiffs’ relationships with drivers. SCI
                     Compl. ¶¶ 98–99 (“Uber Intentionally and Tortiously Interfered with Sidecar’s App and Its
          28         Relationships with Passengers and Drivers”); Boston Cab Compl. ¶ 77 (“Uber intentionally
                     interferes with the contractual relationships between the plaintiffs and cab drivers.”).
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            1    any other reason, such as changes in the overall trend of economic growth.” Id. This precise analysis
            2    will be important here should SCI’s Complaint survive dismissal—except now, Quinn Emanuel will
            3    be on the other side.
            4    III.    Quinn Emanuel Advises Uber on Non-Litigation Matters Related to This Lawsuit.
            5            During Quinn Emanuel’s nearly four-year representation, it counseled Uber on antitrust issues
            6    and helped respond to accusations of anticompetitive conduct, Yoo Decl. ¶¶ 6–8; Ghaussy Decl. ¶ 19;
            7    Allen Decl. ¶¶ 5–6—all issues squarely relevant to this case, including: (1) the advisability of certain
            8    pricing decisions; (2) allegations of tortious interference with competitors’ ride-hail platforms; (3) the
            9    scope of the “relevant market” in which Uber competes; and (4) whether Uber is subject to the
          10     jurisdiction of certain regulators.
          11             First, during the earliest days, Uber’s General Counsel sought antitrust advice from Quinn
          12     Emanuel regarding its business model, including from the firm’s founder and managing partner, John
          13     Quinn. Yoo Decl. ¶ 8. Uber also sought advice from Quinn Emanuel on pricing questions, including
          14     whether pricing decisions would have any effect on unfair competition litigation pending against the
          15     company. Ghaussy Decl. ¶ 23. One inquiry related to a geographic market identified in SCI’s
          16     Complaint. See SCI Compl. ¶ 46; Ghaussy Decl. ¶ 23.
          17             Second, in 2014, Quinn Emanuel provided counseling related to conduct alleged in
          18     paragraphs 99 to 115 of SCI’s Complaint, detailing Uber’s purported involvement in “a covert
          19     campaign to undermine the performance of its competitors’ Ride-Hailing Apps, including Sidecar’s
          20     App.” Ghaussy Decl. ¶ 21; SCI Compl. ¶ 100.
          21             Third, Quinn Emanuel developed legal arguments and strategy for Uber that the firm now
          22     appears to have adapted and repurposed to bolster SCI’s antitrust claims. For example, Quinn
          23     Emanuel helped craft the argument Uber asserted in early litigation and various regulatory
          24     proceedings that Uber did not compete with taxicabs. See, e.g., Mem. in Supp. of Def.’s Mot. to
          25     Dismiss 10, Boston Cab Dispatch v. Uber Techs., Inc., No. 1:13-cv-10769-NMG (D. Mass. Apr. 10,
          26     2013), ECF No. 6; Ghaussy Decl. ¶ 24. Now, SCI’s Complaint invokes that language to support its
          27     assertion that the relevant market is limited to rideshare app developers. See SCI Compl. ¶ 57
          28     (quoting Uber’s statements to state regulatory agencies in 2013). These quotations reflect an

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            1    outdated view of the current competitive landscape9 and conflict with positions later articulated by
            2    Quinn Emanuel on behalf of Uber,10 but Quinn Emanuel was a primary architect behind the
            3    excerpted statements it now deploys against Uber. Ghaussy Decl. ¶¶ 6, 24.
            4             Fourth, Quinn Emanuel was debriefed on Uber’s general regulatory strategy, including as it
            5    relates to statements such as those that it now wields against Uber. Ghaussy Decl. ¶ 24.
            6    Additionally, Uber turned to Quinn Emanuel for analysis on, among other regulatory matters, the
            7    scope of the California Public Utilities Commission’s (“CPUC”) jurisdiction. Allen Decl. ¶ 7. This
            8    advice potentially relates to a key defense to SCI’s Unfair Practices Act claim. See, e.g., Decl. of
            9    Kevin Yeh in Supp. of Defs.’ Mot. to Disqualify (“Yeh Decl.”) Ex. D, Order Sustaining Demurrers
          10     with Leave to Amend 5, Uber Techs. Pricing Cases, Judicial Council Coordination Proceeding No.
          11     4925 (Cal. Super. Ct. Jan. 30, 2018) (holding that immunity applies where the CPUC “does have the
          12     jurisdiction to establish the rates for such a service”); Ghaussy Decl. ¶ 24.
          13     IV.      Quinn Emanuel Is Also Conflicted Through Its Current Representation In Another
                          Matter.
          14

          15              There is yet another matter that suggests a serious breach of Quinn Emanuel’s ethical

          16     obligations to Uber (and others) and that creates an independent basis for disqualification in this

          17     matter. Quinn Emanuel has a current representation through which it continues to have access to

          18     Uber’s confidential information that is of relevance to SCI’s lawsuit. This matter is confidential and

          19
          20
                 9
                       See, e.g., Phila. Taxi Ass’n, Inc. v. Uber Techs., Inc., 886 F.3d 332, 345 (3d Cir. 2018)
          21           (concluding that Uber competes in a market including taxicabs).
          22     10
                       For example, a witness declaration filed by Quinn Emanuel in Goncharov v. Uber Technologies,
                       Inc., asserted that Uber protects certain data from public disclosure because “Uber operates in a
          23           highly competitive environment. For example, taxi companies have launched their own
                       competitor software ‘dispatch’ companies and sought TNC licenses for those services . . . and
          24           other competitors (e.g., Lyft and Sidecar) could use driver information for their benefit . . . to the
                       competitive disadvantage of Uber.” Yeh Decl. Ex. C, Decl. of Michael Colman, Pt. 2, in Supp. of
          25           Def. Uber Techs., Inc.’s Mot. for Clarification/Reconsideration ¶ 3, Goncharov v. Uber Techs.,
                       Inc., No. CGC-12-526017 (Cal. Super. Ct., S.F. Cnty. Aug, 28, 2014); see also Def. Uber Techs.,
          26           Inc.’s Reply in Supp. of Its Mot. to Dismiss Pl.’s Am. Compl. 1, Boston Cab Dispatch, ECF No.
                       69 (“There can be no dispute that the relevant market (Boston) has many other transportation
          27           service options, many transportation service providers, and other factors influencing demand and
                       revenues. Plaintiffs failed to plead that the alleged lost revenue was actually caused by Uber’s
          28           actions rather than the actions of transportation providers or other factors influencing the
                       market.”).
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            1    cannot be disclosed on the public record. Uber respectfully requests an in camera hearing with the
            2    Court and Quinn Emanuel to provide further information about this representation. Yeh Decl. ¶ 2.
            3    V.     Quinn Emanuel Brings This Case Against Uber.
            4           Despite their long relationship, in September 2016, Quinn Emanuel informed Uber that their
            5    fee arrangement “no longer made financial sense” and proceeded to withdraw from almost all its
            6    matters representing Uber. Melissa Daniels, Quinn Dropped Uber Due To Fixed Fee Program, Doc
            7    Says, Law360 (July 21, 2017), available at https://www.law360.com/articles/947172/quinn-dropped-
            8    uber-due-to-fixed-fee-program-doc-says; Allen Decl. ¶ 12. Just over two years later, on December
            9    11, 2018, Quinn Emanuel filed this lawsuit, accusing its former client of “an array of anticompetitive
          10     acts,” and alleging Uber is a monopolist “hell-bent on stifling competition.” SCI Compl. ¶¶ 1, 5.
          11            Uber was served with the Complaint on December 20, 2018. Corrected Cert. of Serv., SCI
          12     ECF No. 21. Four business days later, Uber notified Quinn Emanuel that it believes Quinn Emanuel
          13     is conflicted from representing SCI in this lawsuit. Decl. of Kevin Yeh in Supp. of Defs.’ Mot. for
          14     Admin. Relief to Set Briefing Schedule Ex. B, SCI ECF No. 15-1. Uber’s master engagement letter
          15     with Quinn Emanuel does not provide for any waiver of future conflicts. Allen Decl. ¶ 8. And other
          16     engagement letters prohibit Quinn Emanuel from taking adverse positions on a new matter
          17     “substantially related” to the Uber engagements and for which Quinn Emanuel has confidential
          18     information from its Uber engagements material to that new matter. Id. Nevertheless, Quinn
          19     Emanuel refuses to withdraw. Uber now moves to disqualify Quinn Emanuel.
          20                                              LEGAL STANDARD
          21            “The right to disqualify counsel is a discretionary exercise of the trial court’s inherent
          22     powers.” Epikhin v. Game Insight N. Am., No. 14-CV-04383-LHK, 2015 WL 2229225, at *3 (N.D.
          23     Cal. May 12, 2015) (citation omitted). Civil Local Rule 11-4(a)(1) mandates that every attorney who
          24     appears before this Court “comply with the standards of professional conduct required of members of
          25     the State Bar of California.” Accordingly, this Court looks to California law to determine whether
          26     counsel should be disqualified. Sunbeam Prods. Inc. v. Oliso, Inc., No. C 13-03577 SI, 2014 WL
          27     892918, at *1 (N.D. Cal. Mar. 4, 2014). Under California law, an attorney owes her client a duty of
          28     loyalty and a duty of confidentiality. Id. at *3. While courts are hesitant to interfere with a client’s

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            1    right to counsel of its choice, the Supreme Court of California has underscored that “[t]he important
            2    right to counsel of one’s choice must yield to ethical considerations that affect the fundamental
            3    principles of our judicial process” and “[t]he paramount concern must be to preserve public trust in
            4    the scrupulous administration of justice and the integrity of the bar.” SpeeDee Oil, 20 Cal. 4th at
            5    1145.
            6            “It is beyond dispute [that] a court may disqualify an attorney from representing a client with
            7    interests adverse to those of a former client.” H.F. Ahmanson & Co. v. Salomon Bros., Inc., 229 Cal.
            8    App. 3d 1445, 1451 (Ct. App. 1991) (citations omitted). “Disqualification in cases of successive
            9    representation,” as here, “is based on the prohibition against employment adverse to a former client
          10     where, by reason of the representation of the former client, the attorney has obtained confidential
          11     information material to the employment.” Id. (quotation marks, brackets, and ellipses omitted); see
          12     Cal. R. Prof. Conduct 1.9 (“A lawyer who has formerly represented a client in a matter shall not
          13     thereafter represent another person in . . . a substantially related matter in which that person’s
          14     interests are materially adverse to the interests of the former client . . . .”). Disqualification is
          15     automatic if the former client does not consent, and “[t]he court does not engage in a ‘balancing of
          16     equities’ between the former and current clients.” H.F. Ahmanson, 229 Cal. App. 3d at 1451. “The
          17     rights and interests of the former client will prevail.” Id.
          18             “If there is a reasonable probability that confidences were disclosed which could be used
          19     against the client in later, adverse representation, a substantial relation between the two cases is
          20     presumed,” and disqualification is warranted. Trone v. Smith, 621 F.2d 994, 998 (9th Cir. 1980)
          21     (emphases added). Of course, actual possession of the former client’s confidential information is
          22     sufficient to warrant disqualification, but establishing actual possession is not required because “‘it is
          23     not within the power of the former client to prove what is in the mind of the attorney.’” Id. at 1453
          24     (quoting Global Van Lines, Inc. v. Super. Ct. of Orange Cnty., 144 Cal. App. 3d 483, 489 (Ct. App.
          25     1983)). Rather, all that is necessary is that “‘a substantial relationship has been shown to exist
          26     between the former representation and the current representation.’” Id. at 1454 (quoting Johnson v.
          27     Superior Court, 159 Cal. App. 3d 573, 578 (Ct. App. 1984)). Whether the facts or legal questions are
          28     similar depend on whether they are “material.” Jessen v. Hartford Cas. Ins. Co., 111 Cal App. 4th

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            1    698, 713 (Ct. App. 2003). For information to be material, “it must be found to be directly at issue in,
            2    or have some critical importance to, the second representation.” Farris v. Fireman’s Fund Ins. Co.,
            3    119 Cal. App. 4th 671, 680 (Ct. App. 2004) (emphasis added).
            4            The presumption that an attorney has access to privileged and confidential matters relevant to
            5    a subsequent representation extends the attorney’s disqualification vicariously to the attorney’s entire
            6    firm. SpeeDee Oil, 20 Cal. 4th at 1146; see also Trone, 621 F.2d at 999 (“Once the attorney is found
            7    to be disqualified, both the attorney and the attorney’s firm are disqualified from suing the former
            8    client.”); Employers Ins. of Wausau v. Albert D. Seeno Const. Co., 692 F. Supp. 1150, 1164 (N.D.
            9    Cal. 1988) (“[B]ecause as a rule an attorney is presumed to have the same knowledge and ethical
          10     relationships as all the other attorneys in his firm, if one attorney in a firm is disqualified from a
          11     representation, all the attorneys in the firm are.”); Flatt, 9 Cal. 4th at 283 (“‘If a substantial
          12     relationship is established, the discussion should ordinarily end. The rights and interest of the former
          13     client will prevail. Conflict would be presumed; disqualification will be ordered.’”) (citation
          14     omitted).
          15                                                   ARGUMENT
          16             Quinn Emanuel has an irreconcilable conflict of interest stemming from its nearly four-year
          17     attorney-client relationship with Uber. During that time, Quinn Emanuel attorneys advised or served
          18     as counsel of record for Uber in at least 16 cases involving unfair competition claims, and were
          19     among Uber’s closest legal advisors. A large swath of Quinn Emanuel’s work for Uber substantially
          20     relates to factual and legal issues raised by SCI’s Complaint. Those matters, like this one, implicate
          21     the legality of Uber’s pricing decisions, business strategy, competitive tactics, and driver recruitment,
          22     and the effect of Uber’s entry on competition and competitors. Quinn Emanuel is presumed to have
          23     been exposed to confidential information material to this case (and in fact was exposed to massive
          24     quantities of highly confidential information). As a result, California law requires Quinn Emanuel’s
          25     disqualification.
          26
          27

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            1    I.     Quinn Emanuel’s Representation Of Uber In Substantially Related Litigation Matters
                        Compels Its Disqualification.
            2

            3           Quinn Emanuel’s possession of confidential information is presumed and disqualification is

            4    mandated because its prior representations, and work on behalf, of Uber are substantially related to

            5    this case. Three factors are considered in applying the substantial relationship test: “(1) similarities

            6    between the two factual situations, (2) the legal questions posed, and (3) the nature and extent of the

            7    attorney’s involvement in the cases.” Beltran v. Avon Products, Inc., 867 F. Supp. 2d 1068, 1081

            8    (C.D. Cal. 2012) (citing H.F. Ahmanson, 229 Cal. App. 3d at 1455). Each factor independently

            9    supports Quinn Emanuel’s disqualification.

          10            A.      There are substantial factual similarities between SCI’s claims and Quinn
                                Emanuel’s prior work for Uber.
          11

          12            Factual similarities abound between SCI’s allegations and the antitrust and unfair competition

          13     cases that Quinn Emanuel handled for Uber, as is evident from the face of the many pleadings.

          14                    1.      Yellow Cab Co. v. Uber Technologies, Inc. (District of Maryland)
          15            The Yellow Cab lawsuit is substantially related to SCI’s lawsuit. The plaintiffs in that

          16     lawsuit, initially filed in Maryland state court and later removed to federal court, alleged, like SCI,

          17     that Uber engaged in predatory pricing. Yellow Cab Compl. ¶ 2. Also like SCI, they alleged that

          18     Uber engaged in tortious interference with the plaintiffs’ relationships with riders and drivers. Yellow

          19     Cab Compl. ¶ 2. They alleged that Uber had a specific plan to monopolize the relevant market and

          20     destroy competition. Yellow Cab Compl. ¶ 4. And they alleged that Uber wrongfully poached

          21     drivers from its competitors. Yellow Cab Compl. ¶ 6.

          22            These exact factual allegations appear in SCI’s Complaint. See, e.g., SCI Compl. ¶ 6 (“One of

          23     the anticompetitive practices that Uber employed was predatory pricing”); SCI Compl. ¶¶ 98–99

          24     (“Uber Intentionally and Tortiously Interfered with Sidecar’s App and Its Relationships with

          25     Passengers and Drivers”); SCI Compl. ¶¶ 7–9 (alleging that “Uber’s most senior officers and

          26     executives specifically planned for this subsidized pricing strategy to foreclose competition” and

          27     “[t]o obtain and protect its monopoly”); SCI Compl. ¶¶ 101–04 (alleging that Uber’s actions caused a

          28     “reduction in available Drivers” who “switched to Uber”). That these allegations previously were

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            1    leveled by taxicab drivers and taxicab operators—and not by the purported developer of a ride-
            2    hailing app, as here—is irrelevant. Both cases were brought by competitors and their claims
            3    implicate identical factual issues, namely, Uber’s pricing practices, competitive tactics, and alleged
            4    tortious interference with competitors’ business operations.
            5           The profound similarities between the allegations in Yellow Cab and those asserted in SCI’s
            6    Complaint are more than sufficient to trigger the presumption that relevant confidential information
            7    was shared with Quinn Emanuel. Again, the disqualification analysis turns on the “similarities
            8    between the legal problem involved in the former representation and the legal problem involved in
            9    the current representation.” Jessen, 111 Cal. App. 4th at 709. It is enough that the former
          10     representation has “some critical importance to” the subsequent representation. Farris, 119 Cal. App.
          11     4th at 680 (emphasis added). Unquestionably, whether Uber engaged in a strategy of pricing UberX
          12     below cost in order to achieve or maintain a monopoly position, or tortiously interfered with its
          13     competitors—the “legal problems” in Yellow Cab—are of much critical importance to SCI’s claims.
          14                    2.      Boston Cab Dispatch v. Uber Technologies, Inc. (District of Massachusetts)
          15            Like Yellow Cab, Quinn Emanuel’s representation of Uber in Boston Cab also involves a
          16     common factual predicate with SCI’s case, i.e., Uber engaged in “unfair” or “anticompetitive” acts in
          17     competing with companies like Sidecar, who were harmed as a result. Both cases allege that Uber
          18     engaged in tortious interference with the plaintiffs’ relationships with drivers. SCI Compl. ¶¶ 98–99;
          19     Boston Cab Compl. ¶ 77. Furthermore, the factual claims in Boston Cab implicate Uber’s
          20     competitive strategy and business operations; pricing strategy and financial information; how its
          21     entry into Boston affected competition; and whether it unfairly injured other players in the space.
          22     In the Boston Cab matter, however, there is no need to presume that Quinn Emanuel received
          23     confidential information material to SCI’s claims. It is abundantly clear—even from reviewing the
          24     public record—that the extensive discovery conducted exposed Quinn Emanuel to facts “which could
          25     be used against [Uber] in later, adverse representation.” Trone, 621 F.2d at 998. For example, Quinn
          26     Emanuel attempted to fend off several motions to compel responses to the plaintiffs’ “sweeping
          27     discovery requests” that called for production of, among other things, “detailed financial and trip
          28     data,” and Uber’s “pricing strategy” and the “motivations” behind them. Pls.’ Mot. to Compel the

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            1    Produc. of Docs. from Def. 13, Boston Cab, ECF No. 98; Def. Uber Techs., Inc.’s Opp’n to Pls.’
            2    Mot. to Compel Docs. 1, 12, Boston Cab, ECF No. 101. Quinn Emanuel acknowledged the
            3    sensitivity of this information, arguing that allowing such discovery introduced “the risk of disclosure
            4    of Uber’s highly confidential business information.” Id. at 1. Among other things, over Quinn
            5    Emanuel’s objections, Uber was ordered to provide its estimated monthly gross revenue and number
            6    of driver-partners going back to 2011. Order 1, Boston Cab, ECF No. 130.
            7           Quinn Emanuel also drafted discovery responses that summarized Uber’s fare calculation and
            8    fee structure. Ghaussy Decl. ¶ 16. Quinn Emanuel performed research into Uber’s competitors in
            9    the Boston market. Id. ¶ 17. Further, it prepared and defended Uber’s 30(b)(6) deposition that
          10     involved these and other confidential topics relevant to SCI’s action, such as Uber’s Boston
          11     operations and strategy, its pricing methodology, and its driver-partner recruitment efforts. Id. ¶¶ 16–
          12     17.
          13            In addition, Quinn Emanuel engaged experts on Uber’s behalf who opined on the positive
          14     effects of Uber’s entry into Boston. One expert quoted the Massachusetts governor’s lauding of Uber
          15     for “‘deliver[ing] an innovative and important method of transporting customers’” and “‘provid[ing]
          16     valuable transportation services to our citizens.’” Id. ¶ 18 n.1. The expert further explained that
          17     existing studies have concluded that companies like Uber “show positive effects from a public policy
          18     perspective.” Id. These include “better experience for passengers [than] traditional taxicab
          19     transportation” that “meet[s] unmet demand,” with “wait times [that] are markedly shorter and more
          20     consistent than those of taxis.” Id.; see also Yeh Decl. Ex. E, Uber Techs., Inc.’s Mem. in Opp’n to
          21     Pls.’ Appl. for TRO and Prelim. Inj. Against Defs. 4, Albuquerque Cab Co. v. Uber Techs., Inc., No.
          22     D-202-CV-201405912 (N.M. 2d. Jud. Dist. Ct. Sept. 24, 2014) (arguing that an injunction against
          23     Uber would not serve the public interest in case alleging violation of New Mexico Unfair Practices
          24     Act in part because “[i]n describing companies like Uber, the FTC said that ‘[t]hese applications
          25     represent an innovative form of competition’”).
          26            Finally, Quinn Emanuel offered expert opinion in Boston Cab contradicting the purported
          27     causal connection between Uber’s entry and the plaintiffs’ alleged injury. The expert testimony
          28     showed that “Uber has not been the only new entrant in the for-hire transportation market in Boston

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            1    since 2012. Numerous other services which did not exist in 2011 now compete with taxis, each of
            2    which likely reduced demand for [the plaintiffs’] services. In fact, several new transportation-related
            3    companies have chosen Boston as their headquarters and as an initial or early launch site . . . .”
            4    Ghaussy Decl. ¶ 18 n.1. Sidecar was among the companies identified in the report. Id.
            5           All of this discovery (and related strategy) is highly material to SCI’s Complaint, which
            6    specifically challenges Uber’s pricing practices and the competitive effect of Uber’s business
            7    operations in Boston. SCI Compl. at 22–23. Notably, in a mediation brief prepared in the Boston
            8    Cab matter, Quinn Emanuel took the position that “there is nothing unfair or illegal about Uber’s
            9    business” in Boston. Ghaussy Decl. ¶ 18 (emphasis added). In a 180-degree turn, Quinn Emanuel
          10     now asserts that in 2016, Uber was engaged in a scheme to “raise[] prices to supra-competitive
          11     levels” in cities around the country, including Boston. See Compl. at 22–23 & ¶ 93. Similarly, while
          12     representing Uber, Quinn Emanuel engaged experts who opined on the positive effects of Uber’s
          13     entry into Boston and argued that Uber’s entry did not cause the plaintiffs’ alleged injury. But now
          14     that it represents a client adverse to Uber, Quinn Emanuel claims that “Uber did not acquire and
          15     maintain its monopoly by offering a better product or competing on the merits,” SCI Compl. ¶ 83,
          16     and will be seeking to establish on SCI’s behalf that it was Uber’s unlawful conduct—not legitimate
          17     competition—that injured Sidecar and forced it to go out of business.
          18            Throughout its representation of Uber in the Boston Cab case, Quinn Emanuel was exposed to
          19     confidential information regarding the company’s operations in Boston and elsewhere—“confidences
          20     [that] were disclosed which could be used against [Uber] in later, adverse representation.” Trone,
          21     621 F.2d at 998 (emphasis added). Disqualification is therefore appropriate where, as here, there is a
          22     showing that the former law firm actually possesses confidential information adverse to the former
          23     client. H. F. Ahmanson, 229 Cal. App. 3d at 1459 (“disqualification would be required if Ahmanson
          24     can prove Wachtell in fact possesses such confidential information”).
          25                    3.      Greater Houston Transportation Co. v. Uber Technologies, Inc. (Southern
                                        District of Texas)
          26
          27            The factual similarities between SCI’s Complaint and Quinn Emanuel’s prior work for Uber

          28     are also illustrated by the Greater Houston case (which Quinn Emanuel nearly took to trial in

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            1    February 2016). There, the plaintiffs’ expert charged—echoing SCI’s allegations—that Uber unfairly
            2    competed by undercutting taxicab fares in the Houston and San Antonio markets to unprofitable
            3    levels. Ghaussy Decl. ¶ 14. That conduct is the core allegation of SCI’s case. See, e.g., SCI Compl.
            4    ¶ 89 (“[b]etween 2013 and 2016, in the markets where Uber was competing with Sidecar, the average
            5    prices Uber charged Passengers were lower than Uber’s average variable cost per transaction”).
            6            Similarly, while defending Uber in Greater Houston, Quinn Emanuel sought to establish
            7    through expert testimony that Uber’s entry did not cause the plaintiffs’ alleged injury. Ghaussy Decl.
            8    ¶ 14. For example, Uber’s expert explained that the plaintiffs’ decline might have instead been
            9    caused by “unrelated marketplace events and conditions,” including the “lawful actions of the
          10     Defendants,” “changes in economic climate,” “competition from Lyft, competition from other taxi
          11     companies, or a decline in the demand for [plaintiff’s] services for any other reason, such as changes
          12     in the overall trend of economic growth.” Id. Of course, as with Boston Cab, these arguments and
          13     analyses will be central to this action should SCI’s Complaint survive dismissal. Through its work
          14     for Uber on these cases, Quinn Emanuel and Uber had extensive, “frank discussion of legal and
          15     factual issues relevant to [the claims at issue], including possibly any weaknesses or vulnerabilities in
          16     Uber’s arguments.” Diva Limousine, Ltd. v. Uber Techs., Inc., No. 18-cv-05546-EMC, 2019 WL
          17     144589, at *11 (N.D. Cal. Jan. 9, 2019) (Chen, J.); Ghaussy Decl. ¶ 18. But now, if Quinn Emanuel
          18     were allowed to continue to represent SCI, it would have the benefit of the wealth of insights it
          19     gained from representing Uber in these substantially related matters.
          20             The factual information sought (and obtained) in Quinn Emanuel’s prior representations of
          21     Uber is incontestably “material” to this case since it has more than “some critical importance to
          22     [Quinn Emanuel’s] second representation.”11 Diva Limousine, 2019 WL 144589, at *3 (citation
          23     omitted) (emphasis added). Indeed, that knowledge is “vitally related” to proving—and defending
          24     against—SCI’s present allegations, which attack Uber’s pricing, business strategy, and competitive
          25     strategy. Trone, 621 F.2d at 1000. “Such information is material to this action, as this case also
          26
          27
                 11
                      Prior representations with factual similarities are not limited to these three cases. As noted above,
          28          factual similarities abound in all 16 unfair competition cases that Quinn Emanuel defended for
                      Uber. See supra note 6.
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            1    implicates [Uber’s] practice[s] . . . and if imparted to Plaintiff, would provide [it] with an unfair
            2    litigation advantage” in this case. Beltran, 867 F. Supp. 2d at 1080.
            3           B.      There is material overlap between the legal questions presented in SCI’s
                                Complaint and the prior litigation matters handled by Quinn Emanuel.
            4

            5           The second consideration—similarity in “the legal questions posed”—also supports

            6    disqualification. Id. at 1081. The Yellow Cab case provides the plainest example of overlap. In that

            7    case, the plaintiffs alleged a violation of the Maryland Antitrust Act, claiming Uber embarked on a

            8    “well-planned effort[] to monopolize th[e] industry and destroy competition.” Yellow Cab Compl.

            9    ¶ 112. Although SCI brings its monopolization claims under federal law, the legal analysis is the

          10     same, as Quinn Emanuel argued in its opposition to the Yellow Cab plaintiffs’ motion to remand. See

          11     Opp’n to Pls.’ Mot. to Remand 11–21, Yellow Cab, ECF No. 18 (quoting Md. Code Ann., Com. Law,

          12     § 11–202(a)(2) for the proposition that Maryland “courts are to be ‘guided by the interpretation given

          13     by the federal courts to the various federal statutes dealing with the same or similar matters’” in

          14     Maryland’s antitrust statute). That brief primarily relied on federal case law and identified the

          15     elements of an attempted monopolization claim: “‘(1) that the defendant has engaged in predatory or

          16     anticompetitive conduct with (2) a specific intent to monopolize and (3) a dangerous probability of

          17     achieving monopoly power.’” Id. at 19 (citing Spectrum Sports, Inc. v. McQuillan, 506 U.S. 447, 456

          18     (1993)). Those same elements are identified in Count 2 of SCI’s Complaint. SCI Compl. ¶¶ 146–54.

          19     Indeed, in a later pitch for a case involving (in Quinn Emanuel’s words) California’s “Unfair

          20     Practices Act (antitrust law)”—the basis for one of the causes of action now brought by SCI—Quinn

          21     Emanuel cited its work in Yellow Cab and noted that “[w]e have experience representing Uber in

          22     exactly these types of suits” because “[w]e’ve defended Uber against . . . antitrust claims in the

          23     Baltimore litigation.” Allen Decl. ¶ 11 (emphasis added).

          24            Also illustrative of the overlap is Quinn Emanuel’s opposition to the plaintiffs’ motion to

          25     remand in Yellow Cab. There, Quinn Emanuel argued that the plaintiffs’ claims were legally

          26     defective because they failed to allege barriers to entry, noting that “[o]ther transportation providers

          27     could reenter the market or new ones could start up.” Opp’n to Pls.’ Mot. to Remand 18, Yellow Cab,

          28

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            1    ECF No. 18. Now that it represents SCI, however, Quinn Emanuel has radically shifted course,
            2    arguing that “[t]here are high barriers to entry in the market.” SCI Compl. ¶ 65.
            3            SCI will undoubtedly argue that there is a legal distinction between the unfair competition
            4    claims alleged in the majority of the matters Quinn Emanuel handled for Uber and its antitrust and
            5    Unfair Practices Act claims.12 As another judge in this District recently concluded, however, “the
            6    lack of overlap in legal issues is not dispositive.” Diva Limousine, 2019 WL 144589, at *10
            7    (emphasis added). Put another way, “identity of claims [is] not required” here because what was
            8    “material to [Uber’s] prior [] matters is also material to the present lawsuit.” Beltran, 867 F. Supp.
            9    2d at 1082 (finding a substantial relationship between successive lawsuits “[a]lthough none of the
          10     prior Avon cases specifically involved claims that Avon purportedly misrepresented that it did not
          11     test on animals”). This flexible approach flows from courts’ refusal to “‘posit[] overly restrictive
          12     limitations on what it is reasonable to assume is communicated between lawyers and their clients,’
          13     because ‘clients should not be expected to limit themselves to giving their attorneys only the
          14     information most relevant or critical to a particular engagement’ and ‘frequently provide attorneys
          15     with far more than the bare minimum the attorneys need to carry out the assignment.’” Diva
          16     Limousine, 2019 WL 144589, at *10 (quoting Openwave Sys., Inc. v. 724 Sols. (US) Inc., No. C 09-
          17     3511 RS, 2010 WL 1687825, at *5 (N.D. Cal. Apr. 22, 2010)). Here, Quinn Emanuel spearheaded
          18     Uber’s nationwide unfair competition strategy for nearly four years, and also handled an array of
          19     other matters and areas of counseling, leaving little question about whether it received only the
          20     narrowest set of confidential information entirely unrelated to this action.
          21

          22     12
                      SCI may also argue that Judge White’s rejection of Uber’s motion to relate this action to another
                      antitrust case pending against Uber is somehow dispositive of the issue of substantial relationship
          23          between matters. See Order Denying Mot. to Relate, Desoto Cab Company, Inc. v. Uber Techs.,
                      Inc., Case No. 4:16-cv-06385-JSW (N.D. Cal. Jan. 7, 2019), ECF No. 76. It is not. The tests are
          24          entirely different. Judges in this District will exercise their discretion and grant a motion to relate
                      when (1) “[t]he actions concern substantially the same parties, property, transaction or event;”
          25          and (2) “[i]t appears likely that there will be an unduly burdensome duplication of labor and
                      expense or conflicting results if the cases are conducted before different Judges.” Civil L. R. 3-
          26          12(a). As described above, the test for disqualification only requires a “substantial relationship”
                      and rejects a strict “comparison of the two representations to their precise legal and factual
          27          issues” because doing so would fail to recognize that “the attorney may acquire confidential
                      information about the client or the client’s affairs which may not be directly related to the
          28          transaction or lawsuit at hand.” Jessen, 111 Cal. App. 4th at 712.

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            1            Quinn Emanuel, for its part, acknowledged that its unfair competition experience was readily
            2    transferable to other legal theories, including those that sound in antitrust: in pitching for the Yellow
            3    Cab case, Quinn Emanuel explained that it was well positioned to quickly and efficiently litigate the
            4    antitrust claims “[g]iven the overlap between this case and the other taxicab-competitor cases we
            5    have.” Ghaussy Decl. ¶ 15. But even if perfect overlap was required (and it most assuredly is not),
            6    Quinn Emanuel’s involvement in Yellow Cab is, on its own, a sufficient basis for disqualification
            7    under the shared-legal-question consideration.13
            8            C.     Quinn Emanuel lawyers were deeply involved in every aspect of the litigation
                                matters they handled for Uber.
            9

          10             During its almost four-year relationship with Uber, Quinn Emanuel was deeply immersed in

          11     Uber’s litigation docket, spending thousands of billable hours and collecting millions of dollars in

          12     fees attending to Uber’s legal needs. Allen Decl. ¶ 9. It worked closely with Uber’s senior

          13     executives, its General Counsel, and other in-house counsel. Yoo Decl. ¶¶ 6–10; Ghaussy Decl. ¶ 6;

          14     Allen Decl. ¶ 6. Uber viewed Quinn Emanuel as a trusted partner and advisor, and Quinn Emanuel

          15     continuously sought to deepen and reaffirm that relationship. Ghaussy Decl. ¶ 20. In their words,

          16     Quinn Emanuel’s attorneys learned “every nuance of Uber’s business.” Id. ¶ 19.

          17             As the California Court of Appeal has recognized, “[d]epending upon the nature of the

          18     attorney’s relationship with the former client, in the office or in the courtroom, the attorney may

          19     acquire confidential information about the client or the client’s affairs which may not be directly

          20     related to the transaction or lawsuit at hand but which the attorney comes to know in providing the

          21     representation to the former client with respect to the previous lawsuit or transaction.” Jessen, 111

          22     Cal. App. 4th at 712. Courts have not hesitated to disqualify counsel where there was “at the very

          23     least—a ‘reasonable possibility’ that [the former counsel] acquired confidential information

          24     regarding” its former client’s “business and marketing practices, its litigation and settlement

          25     strategies, and its [] protocols that are not publicly available.” Beltran, 867 F. Supp. 2d at 1082

          26     (emphasis added). That is glaringly the case here.

          27

          28     13
                      The same is true of each of Quinn Emanuel’s 15 other unfair-competition cases it defended on
                      behalf of Uber. See supra note 6.
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            1            Uber’s in-house legal team was in regular—and sometimes daily—contact with Quinn
            2    Emanuel regarding the series of unfair competition cases that Quinn Emanuel defended. Ghaussy
            3    Decl. ¶ 9; Yoo Decl. ¶ 9. As noted earlier, discovery was conducted in, among other matters, the
            4    Yellow Group case in Chicago, the Greater Houston case, and the Boston Cab case. There were TRO
            5    or preliminary injunction hearings in several other cases. See, e.g., Albuquerque Cab Co. at Sept. 22,
            6    2014; Greater Houston, ECF at Apr. 21, 2014; Yellow Group, ECF No. 57. Quinn Emanuel handled
            7    mediations and settlement negotiations. Ghaussy Decl. ¶ 18. Additionally, Quinn Emanuel attorneys
            8    had “significant contact” with Uber executives in the course of their representation. See Beltran, 867
            9    F. Supp. 2d at 1082 (noting that the relationship between corporate executives and former counsel
          10     was relevant to disqualification analysis); Yoo Decl. ¶ 11; Ghaussy Decl. ¶ 7. Notably, Quinn
          11     Emanuel’s work on all these matters spanned all four years during which SCI claims the alleged
          12     anticompetitive activity occurred. See, e.g., SCI Compl. ¶ 132.
          13             Apart from factual and legal similarities between these successive matters, courts have
          14     recognized that even “possible exposure to formulation of policy or strategy” can support a showing
          15     of substantial relation. Diva Limousine, 2019 WL 144589, at *6 (citation omitted) (emphasis added).
          16     That includes, for example, litigation and settlement strategy even “[d]espite the lack of overlapping
          17     identical factual or legal issues.” Oliver v. SD-3C, LLC, No. C 11-01260 JSW, 2011 WL 13156460,
          18     at *3–4 (N.D. Cal. Aug. 4, 2011) (finding disqualification warranted in part because attorney
          19     “participated in discussions concerning case strategy and settlement issues”). After handling at least
          20     16 unfair competition matters for Uber, Quinn Emanuel became more than well-acquainted with
          21     Uber’s business and approach to litigation—a fact that it did not hesitate to tout in repeated pitches it
          22     made to take on even more matters for the company. That Quinn Emanuel served as Uber’s trusted
          23     legal partner on an array of litigation matters, dating back to the period when Uber had a single in-
          24     house attorney, strongly supports disqualification.14
          25
                 14
          26          See LeapFrog Enterprises, Inc. v. Epik Learning, LLC, No. 16-CV-04269-EDL, 2017 WL
                      2986604, at *12 (N.D. Cal. Feb. 23, 2017) (“In over twenty years of representing Plaintiff,
          27          Cooley has had access to a substantial body of confidential information, from general information
                      about Plaintiff’s finances to specific information about its litigation strategy, trademark
          28          prosecution efforts and business strategy in the tablet market.”); Oliver, 2011 WL 13156460, at

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            1    II.      Quinn Emanuel Must Be Disqualified Because It Advised Uber On Substantially
                          Related Non-Litigation Matters.
            2

            3             Disqualification of Quinn Emanuel is equally warranted because it provided Uber with legal

            4    advice on substantially related non-litigation matters.

            5             First, as discussed above, although Quinn Emanuel was initially retained to represent Uber in

            6    Yellow Group and related cases, Ms. Yoo, Uber’s former General Counsel, envisioned that Quinn

            7    Emanuel would provide strategic advice on compliance with state and federal antitrust laws as well.

            8    Yoo Decl. ¶ 6. Quinn Emanuel, too, understood that Uber viewed it as an important strategic partner

            9    in these matters both inside and outside the courtroom. Id. ¶¶ 6–9; Ghaussy Decl. ¶ 20. Importantly,

          10     as Uber was growing and entering new markets, Ms. Yoo sought strategic antitrust compliance

          11     advice related to Uber’s business model and conduct from Quinn Emanuel attorneys, including

          12     founder John Quinn. Yoo Decl. ¶ 8. Such topics are directly related and material to SCI’s

          13     allegations because they involved analysis of competitors and the competitive landscape in various

          14     geographic areas, market conditions, pricing, and confidential business strategies. Id. ¶ 10.

          15              Second, a non-litigation matter from 2014 is also substantially related to SCI’s Complaint.

          16     Uber’s in-house lawyers sought Quinn Emanuel’s legal advice regarding a letter from a competitor

          17     alleging anticompetitive conduct in New York City that materially overlaps with SCI’s allegations

          18     against Uber, including in paragraphs 9–10 and 99–108 of its Complaint. Ghaussy Decl. ¶ 21.

          19              Third, Uber’s in-house lawyers discussed Sidecar—SCI’s predecessor in interest—with

          20     Quinn Emanuel. Quinn Emanuel evaluated and provided legal advice relating to intellectual property

          21     issues brought to Uber’s attention by Sidecar’s founder. Id. ¶ 22. Although that matter related to a

          22     patent issue and not anticompetitive conduct, given that Sidecar is the complainant in both situations,

          23     “there is a reasonable probability that confidences were disclosed which could be used against the

          24     client in later, adverse representation, [thus] a substantial relation between the two cases is

          25     presumed.” Trone, 621 F.2d at 998.

          26
                       *4 (“Despite the lack of overlapping identical factual or legal issues, the Court finds it likely that
          27           over the years in which Mr. Healey defended Panasonic and interacted with in-house counsel
                       within the Intellectual Property Department, Panasonic would have revealed confidential
          28           information which would be relevant and material to the ‘evaluation, prosecution, settlement or
                       accomplishment of the current representation.’”).
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            1            Fourth, Quinn Emanuel’s lawyers also closely coordinated with Uber to ensure consistency
            2    between regulatory and litigation matters. Ghaussy Decl. ¶¶ 10, 24. In fact, SCI’s Complaint cites
            3    submissions by Uber to the CPUC and Maryland’s Public Service Commission that reflects strategic
            4    advice from Quinn Emanuel to assert that Uber does not compete with taxicabs. See SCI Compl. ¶ 57
            5    (“By Uber’s own admission, its Ride-Hailing App does not compete with taxi cabs or other
            6    transportation providers[.]”); Ghaussy Decl. ¶ 24. Of course, that position does not account for
            7    Uber’s expansion into new product lines,15 as Quinn Emanuel would later argue. Nonetheless, the
            8    point is that Uber had confidential strategy discussions with Quinn Emanuel related to its regulatory
            9    positions in order to ensure consistency across Uber’s litigation and regulatory proceedings, even
          10     concerning matters for which Quinn Emanuel was not the primary outside counsel. Id.; Allen Decl.
          11     ¶ 7. Quinn Emanuel also prepared legal memoranda, briefs, and advice to Uber on the jurisdiction of
          12     the CPUC. Allen Decl. ¶ 7. That advice is material to SCI’s claims because the jurisdiction of the
          13     CPUC relates to a defense that Uber intends to raise to SCI’s Unfair Practices Act claim. The
          14     evidence thus “supports a rational conclusion that information material to the evaluation,
          15     prosecution . . . or accomplishment of the former representation given its factual and legal issues is
          16     also material” to SCI’s claims. Jessen, 111 Cal. App. 4th at 713.
          17             Finally, Quinn Emanuel has gained valuable knowledge regarding, and was intimately
          18     involved in advising on, Uber’s internal operations, policies, litigation and settlement strategy, and
          19     other strategic and business considerations. Ghaussy Decl. ¶ 7; Oliver, 2011 WL 13156460, at *3–4
          20     (finding disqualification warranted in part because attorney “participated in discussions concerning
          21     case strategy and settlement issues”). Quinn Emanuel’s work advising Uber on document retention
          22     issues is a prime example of this and could prove relevant here to the extent there is a future
          23     discovery dispute. Ghaussy Decl. ¶ 25.
          24             For all these reasons, it is no surprise that senior in-house Uber attorneys who worked closely
          25     with Quinn Emanuel believe that SCI’s lawsuit is “substantially similar to [matters] on which Quinn
          26
          27

          28     15
                      See generally Phila. Taxi Ass’n, supra note 9, at 345 (“Ultimately, Uber’s presence in the market,
                      as alleged, created more competition for medallion taxicabs, not less . . . .”).
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            1    Emanuel advised Uber for years.” Ghaussy Decl. ¶ 26; Allen Decl. ¶ 13; see also Yoo Decl. ¶ 11.
            2    Disqualification is warranted.
            3    III.      The Conflict Of Interest Of Certain Attorneys At Quinn Emanuel Is Imputed Directly
                           To The Entire Firm.
            4

            5              “Where, as here, ‘the requisite substantial relationship between the subjects of the prior and

            6    the current representations can be demonstrated, access to confidential information by the attorney in

            7    the course of the first representation . . . is presumed’” and disqualification in the current

            8    representation is mandatory. Diva Limousine, 2019 WL 144589, at *12 (quoting with approval Flatt,

            9    9 Cal. 4th at 283). “[I]ndeed, the disqualification extends vicariously to the entire firm.” Flatt, 9 Cal.

          10     4th at 283; see also id.

          11               Because attorneys at Quinn Emanuel previously served as counsel of record on, and provided

          12     legal advice regarding, matters for Uber substantially related to this action, they are disqualified from

          13     representing SCI—a party adverse to Uber. That result is “conclusive” and “justified as a rule of

          14     necessity.” Diva Limousine, 2019 WL 144589, at *13 (quoting Acacia Patent Acquisition, LLC v.

          15     Superior Court, 234 Cal. App. 4th 1091, 1106 (Ct. App. 2015)).

          16               Indeed, that disqualification extends to all of Quinn Emanuel, including the attorneys of

          17     record for SCI. It does not matter that the individual attorneys representing SCI did not work on

          18     earlier Uber cases. The firm may still be disqualified even if the attorneys who previously defended

          19     Uber “ha[ve] had no involvement, and ha[ve] not been consulted in this matter.” Genentech, Inc. v.

          20     Sanofi-Aventis Deutschland GMBH, No. 08-cv-04909 SI, 2010 WL 1136478, at *10 (N.D. Cal. Mar.

          21     20, 2010) (Illston, J.); see also Trone, 621 F.2d at 999 (“Confidential information possessed by one

          22     attorney may or may not have been shared with other members of the firm, but the firm as a whole is

          23     disqualified whether or not its other members were actually exposed to the information.”).16

          24

          25

          26     16
                        In 2015, when Uber began its Preferred Counsel Program, Uber naturally invited Quinn Emanuel
                        to submit a proposal. Notably, among other things, Quinn Emanuel’s response touted how the
          27            firm was tightly integrated and freely shared information internally, stating, “Our lawyers, across
                        all offices and practice groups, are in constant communication and share experiences and
          28            information liberally. Partners that join us from other firms consistently say that they have never
                        seen so much sharing as at our firm.” Allen Decl. ¶ 8.
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            1           As the Ninth Circuit has explained, “the underlying concern is the possibility, or appearance
            2    of the possibility, that the attorney may have received confidential information during the prior
            3    representation that would be relevant to the subsequent matter in which disqualification is sought.”
            4    Trone, 621 F.2d at 999 (emphasis added). Thus, “whether the attorneys actually possessed or
            5    conveyed confidential information is not the test. Rather, [where the movant] has met its burden
            6    showing that a ‘substantial relationship’ exists between the two representations, [the challenged firm]
            7    is conclusively presumed to possess confidential information material to the present action” and must
            8    be disqualified. W. Sugar Coop. v. Archer-Daniels-Midland Co., 98 F. Supp. 3d 1074, 1088 (C.D.
            9    Cal. 2015) (citing Jessen, 111 Cal. App. 4th at 709).
          10     IV.    No Discretionary Or Equitable Reason Weighs Against Disqualifying Quinn Emanuel.
          11            Given the substantial relationship between the matters on which Quinn Emanuel counseled

          12     Uber and this case, Quinn Emanuel should be presumptively disqualified. Flatt, 9 Cal. 4th at 283;

          13     Diva Limousine, 2019 WL 144589, at *13. The fact that it actually received confidential information

          14     material to this action only reinforces this conclusion. No consideration weighs against this outcome.

          15     Uber did not delay in raising the conflict issue with Quinn Emanuel or in bringing this motion. See

          16     SCI ECF No. 15. Finally, “[t]his case is still in its early stages; no discovery has been conducted nor

          17     any dispositive motions litigated.” Diva Limousine, 2019 WL 144589, at *14; see also All Am.

          18     Semiconductor, Inc. v. Hynix Semiconductor, Inc., No. C 06-2915, 2008 WL 5484552, at *11 (N.D.

          19     Cal. Dec. 18, 2008) (disqualification for entire firm appropriate where “there is plenty of time for

          20     new counsel to get up to speed”). Accordingly, SCI will not be prejudiced by having to find new

          21     counsel.

          22                                                 CONCLUSION
          23            This case is a paradigmatic example of counsel representing interests adverse to its former

          24     client, despite having worked on a string of substantially related matters and presumptively (and

          25     actually) being exposed to Uber’s confidential information now material to the SCI representation.

          26     Any one of these matters is a sufficient basis for disqualification. Uber requested that Quinn

          27     Emanuel withdraw; it refused. The Court should not allow Quinn Emanuel to perpetuate this serious

          28     conflict of interest. Uber respectfully requests that its motion to disqualify be granted.

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            1    Dated: February 15, 2019                               Respectfully submitted,
            2

            3                                                           /s/ Theodore J. Boutrous, Jr.
                                                                        Theodore J. Boutrous, Jr.
            4                                                           Daniel G. Swanson
                                                                        Cynthia E. Richman
            5                                                           Kevin Yeh
            6                                                           GIBSON, DUNN & CRUTCHER LLP
            7                                                           Attorneys for Defendants Uber Technologies,
                                                                        Inc., Rasier, LLC, Rasier-CA LLC, Rasier-PA,
            8                                                           LLC, Rasier-DC, LLC, Rasier-NY, LLC, and
                                                                        Uber USA, LLC
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          14            Pursuant to Civil Local Rule 5-1(i)(3), I hereby attest that concurrence in the filing of all
          15     documents submitted with this motion has been obtained from each respective signatory therein.
          16

          17                                                   By: /s/ Theodore J. Boutrous, Jr.
                                                                     Theodore J. Boutrous, Jr.
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Gibson, Dunn &                                                     25
Crutcher LLP
                        DEFENDANTS’ MOTION TO DISQUALIFY QUINN EMANUEL URQUHART & SULLIVAN LLP
                                                – CASE NO. 3:18-CV-07440-JCS
